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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiffs,          )
                                     )                4:06CR3027
           v.                        )
                                     )
RUBEN DARIO NUNEZ,                   )
                                     )                   ORDER
                Defendant.           )
                                     )



     IT IS ORDERED:

     The motion of Adam J. Sipple, filing 141, to withdraw as

counsel of record for defendant is granted.


     DATED this 22nd day of March, 2007.


                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
